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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

JEN GONZALEZ, JOHN and/or JANE
DOE, et al, on behalf of themselves and all
others similarly situated.

              Plaintiffs,

v.                                            CASE NO.:

CHARTER COMMUNICATIONS, INC,

              Defendant.

___________________________________/

                            CLASS ACTION COMPLAINT

     1. Spectrum yanked the plug on college football fans and then blamed Mickey

Mouse.

     2. Family and friends across America were eagerly waiting for the highly

anticipated, beginning of college football, beginning on August 31, 2023, at 8:00 p.m.

Instead, the Gator Nation, along with football fans across the country experienced a

“Lucy taking the football away from Charlie Brown” moment as Spectrum pulled the

football game, broadcasted a blackout and then claimed, “Disney made us do it.”.

     3. Spectrum, the only cable country to fail to reach a deal with ESPN-owned

Disney, used this moment to rob their own customers of the joy of football season

kickoff and their money to boot.




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   4. Unlike other cable providers, Spectrum, “declined Disney’s offer to extend

negotiations which would have kept Disney-owned networks up for consumers in the

middle of perennial programming events like the US Open and college football.” Instead

of providing the programming its viewers pay hundreds of dollars a month for,

Spectrum, in the middle of the U.S. Open, college football and the start of the Labor

Day weekend - easily one of the busiest TV weekends of the year, decided to use sport’s

fans and other spectrum consumers as a pawn in a clear money grab. To make matters

worse they attempted to divide people and anger them with an anti-Disney campaign.


   5. Plaintiffs, Jen Gonzalez and John and/or Jane Doe (together, “Plaintiffs”),

individually and on behalf of the Class defined below of similarly situated persons,

bring this Class Action Complaint and allege the following against Defendant Charter

Communications, Inc, (“Defendant”), based upon personal knowledge with respect to

Plaintiffs and on information and belied derived from, among other things,

investigation of counsel and review of public documents as to all other matters:

                            NATURE OF THE ACTION

    6. Plaintiff brings this class action against Defendant for Defendant’s failure to

fulfill contractual obligations, and engaging in deceptive trade practices, as they

continued billing for services not delivered. Plaintiffs seek, among other things, orders

requiring Defendant to supply services or reimburse Class Members for the channels

not provided.

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    7. On or about, Thursday August 31, 2023, Charter Communications

customers experienced an outage of services shortly before the start of the University

of Florida and University of Utah college football game, a highly anticipated kickoff

to the college football season. The game was to air on ESPN, and when viewers

turned to the channel expecting to watch the game, they were suddenly met with the

following message from Defendant:

      "The Walt Disney Company, the owner of this channel, has removed their
      programming from Spectrum which creates hardship for our customers. We
      apologize for the inconvenience and are continuing to negotiate in good faith in
      order to reach a fair agreement.

      We offered Disney a fair deal, yet they are demanding an excessive increase. They
      also want to limit our ability to provide greater customer choice in programming
      packages forcing you to take and pay for channels you may not want. We are
      very disappointed with their position, which has negatively impacted our
      customers.

      Spectrum is on your side and fighting to keep costs down while protecting and
      maximizing customer choice. The rising cost of programming is the single greatest
      factor in higher cable TV prices, and we are fighting hard to hold the line on
      programming rates imposed on us by companies like Disney."

   8. As a result of Defendant’s failure to follow contractually-agreed upon standards,

Plaintiffs and Class Members received only a diminished value of the services

Defendant was to provide.

   9. Accordingly, Plaintiffs, individually and on behalf of all others similarly

situated, alleges claims breach of contract, and violation of Florida’s Deceptive and

Unfair Trade Practices Act (FDUPTA) and Florida’s Consumer Collection Practices

Act (FCCPA).




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                          JURISDICTION AND VENUE

   10.   This Court has general jurisdiction over Defendant, which conducts

substantial business within Florida, and thus has significant, continuous, and

pervasive contacts with the State.

   11.   Violations described in the Complaint occurred while Plaintiff was in

Tampa, Florida.

                                      PARTIES

   12.   Plaintiff, Jen Gonzalez, is a citizen and resident of Tampa, Florida.

   13.   At all times relevant to this complaint, Plaintiffs were customers of Charter

Communications, Inc., also known as Spectrum, and experienced the outage.

                             STATEMENT OF FACTS

   14. Plaintiff has been a paying subscriber to Charter Spectrum's television services,

including the channels owned by Disney, under a valid and enforceable contract.

   15. The Channels owned by Disney which were subject to the blackout include

ESPN, ESPN2, ESPN Deportes, ESPNU, ESPN News, SEC Networks, ACC

Network, Longhorn Network, FX, FX Movie Channel, FXX, National Geographic,

Nat Geo Wild, Nat Geo Mundo, Disney Channel, Disney Junior, Disney XD,

BabyTV, Freeform, ABC7 Chicago, ABC7 Los Angeles, ABC7 New York, ABC7

SanFransico, ABC11 Raleigh-Durham, ABC13 Houston, and ABC30 Frenso.

   16. Charter Spectrum, as part of its contractual obligations, agreed to provide access

to a range of television channels, including those offered by Disney.



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   17. Charter Spectrum has, on numerous occasions, billed the Plaintiff for access to

Disney channels but has failed to deliver the services as contracted.

   18. Despite repeated attempts by the Plaintiff to address this issue with Charter

Spectrum's customer service representatives, the problem has persisted, and Charter

Spectrum has not taken appropriate corrective action.

   19. Plaintiff has suffered monetary loss due to the overcharging for services not

rendered and has been subjected to undue inconvenience and frustration.

                         CLASS ACTION ALLEGATIONS

   20. Plaintiffs bring this suit as a class action on behalf of themselves and on behalf

of all others similarly situated who executed contracts with Defendant but are not

receiving the bargained-for services.

   21. The Class that Plaintiffs seek to represent is defined as follows:


      All individuals in the United States who are current customers of Defendant,
      whose access to Disney Owned television channels were affected by the
      Spectrum Charter blackout.

            Plaintiff alleges a subclass of Florida consumers who were charged the
            entirety of their bill, despite not being allotted access to all the advertised
            services.

   22. Excluded from the Class and Subclass are the officers, directors, and legal

representatives of Defendant, and the judges and court personnel in this case and any

members of their immediate families.

   23. Numerosity. The Class and Subclass Members are so numerous that joinder of

all Members is impractical. While the exact number of Class Members is unknown to



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Plaintiffs at this time, based on information and belief, it is estimated to be at or above

100,000.

   24. Commonality. There are questions of law and fact common to the Class and

Subclass, which predominate over any questions affecting only individual Class

Members. These common questions of law and fact include, without limitation:

              a.     Whether Plaintiff and class had a valid contract with Spectrum

              Charter for the provision of cable television services.

              b.     Whether those cable television services offered by Spectrum

              Charter included the following Disney-Owned Channels: ESPN,

              ESPN2, ESPN Deportes, ESPNU, ESPN News, SEC Networks, ACC

              Network, Longhorn Network, FX, FX Movie Channel, FXX, National

              Geographic, Nat Geo Wild, Nat Geo Mundo, Disney Channel, Disney

              Junior, Disney XD, BabyTV, Freeform, ABC7 Chicago, ABC7 Los

              Angeles, ABC7 New York, ABC7 SanFransico, ABC11 Raleigh-

              Durham, ABC13 Houston, and ABC30 Frenso.

              c.     Whether Defendant failed to provide the services they were

              contractually obligated to provide.

              d.     Whether Plaintiff and the class suffered damages as a result of

              Defendant’s breach.

              e.     Whether Defendant engaged in unfair or deceptive practices by

              billing for channels and services they were unable to provide.




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              f.     Whether Defendant engaged in other conduct which can

              reasonably be used to harass Florida consumers.

    25.       Typicality. Plaintiffs’ claims are typical of those of other Class and

Subclass Members. Plaintiffs’ claims are typical of those of the other Class Members

because, inter alia, all Members of the Class were injured through the common

misconduct of Defendant. Plaintiffs are advancing the same claims and legal theories

on behalf of themselves and all other Class Members, and there are no defenses that

are unique to Plaintiffs. The claims of Plaintiffs and those of Class Members arise from

the same operative facts and are based on the same legal theories.

    26.       Policies Generally Applicable to the Class. This class action is also

appropriate for certification because Defendant has acted or refused to act on grounds

generally applicable to the Class, thereby requiring the Court’s imposition of uniform

relief to ensure compatible standards of conduct toward the Class and Subclass

Members, and making final injunctive relief appropriate with respect to the Class as a

whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiffs’ challenge of these policies hinges on Defendant’s conduct

with respect to the Class as a whole, not on facts or law applicable only to Plaintiffs.

    27.       Adequacy of Representation. Plaintiff will fairly and adequately

represent and protect the interests of the Class and Subclass in that they have no

disabling conflicts of interest that would be antagonistic to those of the other Members

of the Class and Subclass. Plaintiffs seeks no relief that is antagonistic or adverse to the

Members of the Class and the infringement of the rights and the damages they have

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suffered are typical of other Class Members. Plaintiffs have retained counsel

experienced in complex consumer class action litigation and in particular privacy class

litigation, and Plaintiffs intend to prosecute this action vigorously.

   28. Superiority of Class Action. The class litigation is an appropriate method for

fair and efficient adjudication of the claims involved. Class action treatment is superior

to all other available methods for the fair and efficient adjudication of the controversy

alleged herein; it will permit a large number of class members to prosecute their

common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of evidence, effort, and expense that hundreds of individual

actions would require. Class action treatment will permit the adjudication of relatively

modest claims by certain class members who could not individually, afford to litigate

a complex claim against large corporations, like Defendant. Further, even for those

class members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

   29. The nature of this action and the nature of laws available to Plaintiffs and the

Class make the use of the class action device a particularly efficient and appropriate

procedure to afford relief to Plaintiffs and the Class for the wrongs alleged because

Defendant would necessarily gain an unconscionable advantage since Defendant

would be able to exploit and overwhelm the limited resources of each individual Class

Member with superior financial and legal resources; the costs of individual suits could

unreasonably consume the amounts that would be recovered; proof of a common

course of conduct to which Plaintiffs were exposed is representative of that experienced

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by the Class and will establish the right of each Class Member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and

would be unnecessary and duplicative of this litigation.

   30. The litigation of the claims brought herein is manageable. Defendant’s

uniform conduct, the consistent provisions of the relevant laws, and the ascertainable

identities of Class and Subclass Members demonstrates that there would be no

significant manageability problems with prosecuting this lawsuit as a class action.

   31. Adequate notice can be given to Class and Subclass Members directly using

information maintained in Defendant’s records.

   32. Unless a Class-wide injunction is issued, Defendant may continue in its failure

to properly fulfill the contract between Defendant and Class Members, and Defendant

may continue to act unlawfully as set forth in this Complaint.

   33. Further, Defendant has acted or refused to act on grounds generally applicable

to the Class and Subclass and, accordingly, final injunctive or corresponding

declaratory relief with regard to the Class Members as a whole is appropriate under

the Federal Rules of Civil Procedure.

                            FIRST CAUSE OF ACTION
                                Breach of Contract
                              (On behalf of the Class)

   34. Plaintiffs restate and reallege paragraphs 1 through 33 above as if fully set forth

herein.

   35. Plaintiffs had a valid and enforceable contract with Charter Communications,

Inc, which is evidenced by the subscription agreement or terms of service.

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   36. Defendant had a contractual obligation to provide channels owned by Disney

 as part of the television service.

   37. Defendant failed to perform its contractual duty by not consistently delivering

 Disney-owned channels, including ESPN, despite Plaintiffs continued payment for

 access to those channels.

   38. The Plaintiff asserts that Defendant did not have a legal excuse or justification

 for its failure to provide the services as contracted.

   39. As a result of Charter Spectrum's breach of contract, the plaintiff has suffered

 damages in the form of monetary loss due to overcharges for undelivered services and

 has experienced inconvenience and frustration. The plaintiff seeks legal remedies,

 including restitution for the overcharges and an order requiring Charter Spectrum to

 fulfill its contractual obligations by providing the Disney channels as agreed upon in

 the contract.

                             SECOND CAUSE OF ACTION
                               Deceptive Trade Practices
                                (On behalf of the Class)

   40. Plaintiffs reinstate and reallege paragraphs 1 through 33 above as is fully set

 forth herein.

   41. Plaintiffs and the Class Members are “consumers.” Fla. Stat. § 501.203(7).

   42.   Charter Communications, Inc, engaged in unfair or deceptive acts or

 practices by consistently billing the plaintiff for access to channels owned by Disney

 while failing to provide those channels as contracted.




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   43.    This deceptive act had an impact on the plaintiff as a consumer and caused

 them to suffer monetary loss due to overcharges for undelivered services and has

 experienced inconvenience and frustration.

   44. Plaintiffs seek, among other things, an order from the court requiring Charter

Communications, Inc to cease these deceptive practices and to provide that contracted

Disney channel services promptly. Additionally, plaintiffs may request reimbursement

for the period of time they paid for these channels, and they were not provided by

Defendant.

                              THIRD CAUSE OF ACTION
                        Florida Consumer Collection Practices Act
                           (On behalf of the Florida Sub-Class)


    45.       Plaintiffs hereby incorporate by reference the allegations contained in

paragraphs 1-33 of this Complaint.

    46.       Plaintiff brings this claim individually and on behalf of the proposed sub-

Class against Defendant Charter.

   47. At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute § 559.72.

   48. “Debtor” or “consumer” means any natural person obligated or allegedly

obligated to pay any debt. Florida Statute § 559.55(8).

    49.       At all times relevant to this action Plaintiff and members of the Sub-Class

were “debtors” or “consumers.”




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    50.       Charter violated Florida Statute § 559.72(7) by willfully engaging in

conduct that could reasonably be expected to abuse or harass the debtor Plaintiff or

any member of her family.

    51.       Charter violated Florida Statute § 559.72(9) by attempting to enforce a

debt that Charter knows is not legitimate, or to assert the existence of some legal right

when Campus Advantage knows that right does not exist.

    52.       Charter knew the debts they sought to collect were not legitimate,

because Defendant had actual knowledge, they were not providing the contractually

obligated services, they were required to supply.

    53.       Charter’s actions have directly and proximately resulted in Plaintiffs

prior and continuous sustaining of damages as described by Florida Statute §559.77.




                               PRAYER FOR RELIEF

WHEREFORE Plaintiffs on behalf of themselves and all others similarly situated,

pray for relief as follows:

              a. For an Order certifying the Class as defined herein, and appointing

                 Plaintiffs and their Counsel to represent the Class;

              b. For equitable relief enjoining Defendant from engaging in the

                 wrongful conduct complained of herein pertaining to the breach of

                 contract

              c. For an award of damages, including actual, nominal, and



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                 consequential damages, as allowed by law in an amount to be

                 determined;

             d. For an award of attorneys’ fees, costs and litigation expenses as

                 allowed by law;

             e. For prejudgment interest on all amounts awarded; and

             f. Such other and further relief as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury on all issues so triable.

Dated: September 5, 2023

                                   Respectfully submitted,



                                         /s/Billy Howard__________
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